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 7   405 Howard Street
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     Attorneys for Defendant META PLATFORMS, INC.
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11
                                   UNITED STATES DISTRICT COURT
12
                              NORTHERN DISTRICT OF CALIFORNIA
13
14   MICHAEL MOATES,                                Case No. 3:22-cv-04478-JD
15                    Plaintiff,                    JOINT STIPULATION AND
                                                    [PROPOSED] ORDER TO EXTEND
16            v.                                    PLAINTIFF’S TIME TO FILE HIS
                                                    AMENDED COMPLAINT AND TO SET
17   FACEBOOK, INC.                                 BRIEFING SCHEDULE
18                    Defendant.
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28         JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND PLAINTIFF’S TIME TO FILE HIS
                        AMENDED COMPLAINT AND TO SET BRIEFING SCHEDULE
                                     CASE NO. 3:22-CV-04478-JD
     4150-2620-7555
 1            Plaintiff Michael Moates and Defendant Meta Platforms, Inc. (“Meta”) (f/k/a Facebook)
 2   (collectively the “Parties”), by and through their counsel of record, hereby stipulate, subject to
 3   approval of the Court, as follows:
 4           1.       On November 19, 2020, Plaintiff filed a Complaint against Meta in the United States
 5   District Court for the Eastern District of Texas, which was captioned Moates v. Facebook, Inc.,
 6   Case No. 4:20-cv-00896.
 7           2.       On December 28, 2020, Plaintiff filed a Second Amended Complaint (“SAC”),
 8   asserting claims for (1) fraud; (2) breach of contract; (3) violation of civil rights; (4) violation of
 9   antitrust laws; (5) data theft; (6) violation of contract; (7) violation of regulation FD, unfair
10   practices, insider trading; and (8) violation of right to privacy.
11           3.       On February 3, 2021, Meta moved to dismiss Plaintiff’s SAC and to transfer the
12   action (4:20-cv-00896) to the U.S. District Court for the Northern District of California pursuant to
13   28 U.S.C. § 1404(a).
14           4.       On May 14, 2021, the assigned magistrate judge issued a report and
15   recommendation that the action (4:20-cv-00896) be transferred to the U.S. District Court for the
16   Northern District of California.
17           5.       On August 4, 2021, before the action (4:20-cv-00896) was transferred, Plaintiff
18   voluntarily dismissed the action.
19           6.       On July 29, 2021, Plaintiff filed an Original Petition against Meta in the 31st District
20   Court of Denton County, which was captioned Moates v. Facebook, Inc., Case No. 21-6407-431.
21   On August 23, 2021, Plaintiff filed an Amended Petition.
22           7.       On September 9, 2021, Meta removed the state court action (21-6407-431) to the
23   United States District Court for the Eastern District of Texas pursuant to 28 U.S.C. §§ 1332, 1441,
24   and 1446. Moates v. Facebook, Inc., Case No. 4:21-cv-00694.
25           8.       On July 12, 2022, the Court granted Meta’s motion to transfer and transferred the
26   case to the Northern District of California. Moates v. Facebook, Inc., Case No. 22-cv-04478-SK.
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28         JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND PLAINTIFF’S TIME TO FILE HIS
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                                     CASE NO. 3:22-CV-04478-JD
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 1           9.       On September 30, 2022, the matter was reassigned to the Honorable Judge James
 2   Donato. The Court set the Case Management Conference to December 1, 2022, at 10:00 A.M.
 3           10.      On December 1, 2022, Meta attended the Case Management Conference. The Court
 4   granted Plaintiff’s Motion for Leave to Amend and ordered Plaintiff to file his amended complaint
 5   by December 22, 2022.
 6           11.      On January 9, 2023, Plaintiff filed his amended complaint.
 7           12.      On January 23, 2023, Meta moved to dismiss Plaintiff’s amended complaint.
 8           13.      On February 15, 2023, the Court gave plaintiff a final opportunity to amend his
 9   complaint, with a deadline of March 2, 2023.
10           14.      On March 2, 2023, Plaintiff informed Meta of a recent illness, and requested a
11   fourteen (14) day extension to file his second amended complaint.
12           15.      The parties have met and conferred in good faith and have agreed, subject to the
13   Court’s approval, to the following extension and briefing schedule:
14                          March 16, 2023: Deadline for Plaintiff to File Amended Complaint.
15                          April 6, 2023: Deadline for Meta to File Motion to Dismiss.
16                          April 27, 2023: Deadline for Plaintiff to File Opposition.
17                          May 11, 2023: Deadline for Meta to File Reply.
18           16.      It is therefore stipulated and agreed by and between the Parties, subject to the
19   Court’s approval:
20           Plaintiff’s deadline to file his amended complaint shall be March 16, 2023; Meta’s deadline
21   to move to dismiss Plaintiff’s amended complaint shall be April 6, 2023; Plaintiff’s deadline to
22   oppose Meta’s motion to dismiss shall be April 27, 2023; Meta’s deadline to file its reply shall be
23   May 11, 2023.
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28         JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND PLAINTIFF’S TIME TO FILE HIS
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                                     CASE NO. 3:22-CV-04478-JD
     4150-2620-7555
 1   Dated: March 2, 2023                            Respectfully submitted,
 2                                                   ORRICK, HERRINGTON & SUTTCLIFFE LLP
 3
                                                     By: /s/ Jacob M. Heath
 4
                                                         Jacob M. Heath
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                                                     Attorney for Defendants Meta Platforms, Inc.
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 7    Dated: March 2, 2023

 8                                                   By: /s/ Michael Moates
                                                         Michael Moates
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                                                     Pro per Plaintiff
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                              CIVIL LOCAL RULE 5-1(i)(3) ATTESTATION
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              I hereby attest that concurrence in the filing of this document has been obtained from each
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     of the other signatories hereto.
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     Dated: March 2, 2023                          By:   /s/ Jacob M. Heath
15                                                          JACOB M. HEATH
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28         JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND PLAINTIFF’S TIME TO FILE HIS
                        AMENDED COMPLAINT AND TO SET BRIEFING SCHEDULE
                                     CASE NO. 3:22-CV-04478-JD
     4150-2620-7555
 1                                             PROOF OF SERVICE
 2            I am employed in the County of San Mateo, State of California. I am over the age of 18
 3   years old and not a party to this action. My business address is Orrick, Herrington & Sutcliffe
 4   LLP, 1000 Marsh Road, Menlo Park, California 94025. On March 2, 2023, I served the
 5   following document(s) entitled:
 6            1. JOINT STIPULATION AND [PROPOSED] ORDER TO EXTEND
                 PLAINTIFF’S TIME TO FILE HIS AMENDED COMPLAINT AND TO SET
 7               BRIEFING SCHEDULE
 8   on all interested parties to this action in the manner described as follows:
 9                                  Michael Moates
                                    6004 Oakland Bend, #116
10                                  Denton, TX 76112
                                    mike@cpmht.com
11                                  (pro se Plaintiff)
12
               (VIA EMAIL) On March 2, 2023, via electronic mail in Adobe PDF format the
13             document(s) listed above to the electronic address(es) set forth below.

14             (VIA U.S. MAIL) On March 2, 2023, by placing a true copy of the document(s) listed
               above in an envelope, with postage thereon fully prepaid, addressed as set forth below
15             and then sealing the envelope and depositing it in the U.S. mail at Menlo Park, CA.

16
              I declare under penalty of perjury under the laws of the State of California and the United
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     States that the foregoing is true and correct.
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              Executed on March 2, 2023, at Menlo Park, California.
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20                                                                 /s/ Sema Virrueta
                                                                   Sema Virrueta
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                                             PROOF OF SERVICE
                                         CASE NO. 3:22-CV-04478-JD
     4150-2620-7555
 1                                  [PROPOSED] ORDER

 2            PURSUANT TO STIPULATION, IT IS SO ORDERED.
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 4    Dated:
                                                HONORABLE JAMES DONATO
 5                                                United States District Judge
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28     [PROPOSED] ORDER TO EXTEND PLAINTIFF’S TIME TO FILE HIS AMENDED COMPLAINT AND TO
                                    SET BRIEFING SCHEDULE
                                  CASE NO. 3:22-CV-04478-JD
     4150-2620-7555
